    Case 21-30589       Doc 309        Filed 11/03/21 Entered 11/03/21 16:14:43                   Desc Main
                                        Document     Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

In re:                                    )
                                          )                           Chapter 11
LTL MANAGEMENT LLC,      1                )
                                          )                           Case No. 21-30589 (JCW)
            Debtor.                       )
_________________________________________ )


              LIMITED OBJECTION AND RESERVATION OF RIGHTS AS TO
               THE MOTION OF THE BANKRUPTCY ADMINISTRATOR TO
              APPOINT AN OFFICIAL COMMITTEE OF TALC CLAIMANTS

         The law firm of Maune Raichle Hartley French & Mudd, LLC (“Maune Raichle”), by and

through the undersigned counsel, hereby submits this limited objection and reservation of rights

(the “Limited Objection”) as to the Motion of the Bankruptcy Administrator to Appoint an Official

Committee of Talc Claimants [Docket No. 227] (the “Appointment Motion”) filed by the United

States Bankruptcy Administrator for the Western District of North Carolina (the “Bankruptcy

Administrator”) on October 28, 2021, in the Chapter 11 case (the “Chapter 11 Case”) of the above-

captioned debtor (the “Debtor”). In support of this Limited Objection, Maune Raichle respectfully

states as follows:

         1.      Johnson & Johnson (“J&J”) first began selling JOHNSON’S® Baby Powder in

1894.2 In the 1960s, J&J began selling asbestos-containing Shower-to-Shower body powder.

         2.      In 2021, a now-defunct entity named Johnson & Johnson Consumer Inc. (“Old

JJCI”) implemented a corporate restructuring (the “2021 Corporate Restructuring”), which was




1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
2
  Declaration of John K. Kim in Support of First Day Pleadings [Docket No. 5] (the “First Day Declaration”) at ¶
10.


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    Case 21-30589       Doc 309       Filed 11/03/21 Entered 11/03/21 16:14:43                   Desc Main
                                       Document     Page 2 of 5



completed on October 12, 2021.3 As a result of that restructuring, Old JJCI ceased to exist and

two new entities were created: (a) the Debtor, which was initially formed as a Texas limited

liability company and then converted into a North Carolina limited liability company;4 and (b)

another entity, which was initially formed as a Texas limited liability company, then merged into

a New Jersey corporation that was its direct parent (as well as the direct parent of the Debtor),

whereupon this entity changed its name to Johnson & Johnson Consumer Inc. (“New JJCI”).5 The

Debtor alleges that it is liable for injuries caused by J&J’s Shower-to-Shower.

        3.       On October 14, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the Western District of North Carolina. The Debtor has continued in

the operation of its business and the management of its property during the pendency of this chapter

11 case (the “Chapter 11 Case”).

        4.       On October 20, 2021, at the hearing on the Debtor’s various first-day motions (the

“First Day Hearing”), the Court closed the hearing by noting that—should the Court determine

that a transfer of venue to the District of New Jersey is ultimately appropriate—the Court “would

probably reserve the right to let the U.S. Trustee and the bankruptcy judge up there” to review and

reconsider the appointment and composition of any creditors’ committee or committees.6

        5.       On October 25, 2021, the Bankruptcy Administrator filed her motion to transfer

venue of the Chapter 11 Case to the District of New Jersey. [Docket No. 205]. The next day, the

Court entered the Order to Appear and Show Cause Why Venue Should Not Be Transferred to


3
  See id. at ¶ 16.
4
  Upon information and belief, the Debtor was formed to manage and defend thousands of talc-related claims and to
oversee the operations of its subsidiary, Royalty A&M. Royalty A&M owns a portfolio of royalty revenue streams,
including royalty revenue streams based on third-party sales of LACTAID®, MYLANTA®/ MYLICON® and
ROGAINE® products. See First Day Declaration at ¶ 18.
5
  Id.
6
  Transcript of Hearing at 224:22–225:1, In re LTL Management LLC, Case No. 21-30589 (JCW) (Oct. 20, 2021).


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 Case 21-30589       Doc 309      Filed 11/03/21 Entered 11/03/21 16:14:43            Desc Main
                                   Document     Page 3 of 5



Another District (the “Show Cause Order”) [Docket No. 208] and set hearing on the Show Cause

Order for November 10, 2021.

       6.      On October 28, 2021, the Bankruptcy Administrator filed the Appointment Motion

seeking to appoint an official committee of talc claimants (the “Committee”). The Committee is

currently comprised of the following members: (i) Rebecca Love; (ii) Kellie Brewer; (iii) Tonya

Whetsel; (iv) William A. Henry; (v) Darlene Evans; (vi) Patricia Cook; (vii) Alishia Landrum;

(viii) Blue Cross Blue Shield of Massachusetts (“BCBSM”); (ix) Kristie Doyle; (x) Randy

Derouen; and (xi) April Fair.

       7.      The Appointment Motion has been met with several responses, all containing

requests to add additional claimants as Members of the Committee. [See Docket Nos. 240, 256,

258, 278, 279, 280, and 291]. Maune Raichle is among the entities seeking the appointment of an

additional claimant to the Committee. [Docket No. 280]. Hearing upon the Appointment Motion

has been set for November 4, 2021, at 9:30 A.M. Eastern (the “Hearing”).

       8.      Maune Raichle does not object to the appointment of the Committee in general, nor

does it object to the requests by any other party to seek appointment of additional claimants to the

Committee. However, Maune Raichle does not believe the currently-scheduled Hearing will

provide adequate time—given other issues pending before the Court related to the automatic stay

and injunctive relief—to address issues related to the constituency of the Committee, including the

propriety of the inclusion of certain entities on the Committee and the appropriate number of

committees that should be appointed. Moreover, issues related to venue will not be resolved at the

upcoming Hearing.

       9.      Therefore, Maune Raichle files this Limited Objection to reserve its rights

regarding the Appointment Motion and respectfully requests that any order appointing the




                                                 3
 Case 21-30589        Doc 309     Filed 11/03/21 Entered 11/03/21 16:14:43             Desc Main
                                   Document     Page 4 of 5



Committee, if one is entered, is without prejudice to, and affirmatively preserves all rights of, any

party-in-interest to object to or seek reconsideration of the appointment or constituency of the

Committee for a period of thirty (30) days after the later of (i) the entry of any Order appointing a

Committee; or (ii) any Order transferring venue in this Chapter 11 proceeding to any other district.

Such preservation would be consistent with the Court’s prior statements from the First Day

Hearing and would not prejudice the rights or interests of any party.

       WHEREFORE, Maune Raichle respectfully requests that, if the Court enters an order

granting the Appointment Motion, such order shall be explicitly without prejudice to the rights of

any party-in-interest to object to or seek reconsideration of the appointment or constituency of the

Committee for a period of thirty (30) days after the later of (i) the entry of any Order appointing a

Committee; or (ii) any Order transferring venue in this Chapter 11 proceeding to any other district,

and for any other and further relief that the Court deems just and proper.

       Respectfully submitted, this the 3rd day of November, 2021.

                                              WALDREP WALL BABCOCK
                                              & BAILEY PLLC

                                              /s/ Thomas W. Waldrep, Jr.
                                              Thomas W. Waldrep Jr. (NC State Bar No. 11135)
                                              Kevin L. Sink (NC State Bar No. 21041)
                                              James C. Lanik (NC State Bar No. 30454)
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 Case 21-30589      Doc 309     Filed 11/03/21 Entered 11/03/21 16:14:43          Desc Main
                                 Document     Page 5 of 5




                               CERTIFICATE OF SERVICE
        The undersigned hereby certifies that the foregoing LIMITED OBJECTION AND
RESERVATION OF RIGHTS AS TO THE MOTION OF THE BANKRUPTCY
ADMINISTRATOR TO APPOINT AN OFFICIAL COMMITTEE OF TALC
CLAIMANTS was filed electronically in accordance with the Local Rules and served upon all
parties registered for electronic service via the CM/ECF system, including those parties listed
below:


Shelly Abel
Bankruptcy Administrator


       This the 3rd day of November, 2021.
                                             WALDREP WALL BABCOCK
                                             & BAILEY PLLC

                                             /s/ Thomas W. Waldrep, Jr.
                                             Thomas W. Waldrep Jr. (NC State Bar No. 11135)
                                             Kevin L. Sink (NC State Bar No. 21041)
                                             James C. Lanik (NC State Bar No. 30454)
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